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                        Exhibit 3
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                                                                     Digitally signed by Duffy-Sandstrom Sabine
                                         Duffy-Sandstrom             DN: serialNumber=Z000BJFS, givenName=Sabine,
                                                                     sn=Duffy-Sandstrom, o=Siemens, cn=Duffy-
                                         Sabine                      Sandstrom Sabine
                                                                     Date: 2018.03.30 21:05:12 -04'00'


                                    Sabine Duffy-Sandstrom               VP Federal Accounts
                                        3/6/2018



                                                            Digitally signed by Roth Christopher

                                         Roth Christopher   DN: serialNumber=Z000BEGO, givenName=Christopher,
                                                            sn=Roth, o=Siemens, cn=Roth Christopher
                                                            Date: 2018.04.02 06:48:13 -04'00'




                                        Chris Roth
                                        3/6/2018
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Western Shelter multiyear pricing for CT Scanner Project

Year         Integration Price     Three in one Container Price           NRE         Notes

                                                                                     One time fee for design, development, and testing. 50%
                                                                                     paid at time of first order placement, balance under
2018             $166,869.13                $177,635.84                  $171,428.57 standard terms
2019             $170,373.38                $181,366.19
2020             $173,951.22                $185,174.88
2021             $177,604.20                $189,063.56
2022             $181,333.89                $193,033.89
2023             $185,141.90                $197,087.60
2024             $189,029.88                $201,226.44
2025             $192,999.51                $205,452.20
2026             $197,052.50                $209,766.69
2027             $201,190.60                $214,171.79
